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                        UNITED STATES DISTRICT COURT
                   CENTRAL DISTRICT OF CALIFORNIA
                              WESTERN DIVISION



   GILBERT EDWARD SALAZAR,                Case No. CV 17-07686-ODW (DFM)

           Plaintiff,                     JUDGMENT

              v.

   LOS ANGELES COUNTY
   SHERIFF’S DEPARTMENT et al.,

           Defendants.



       Pursuant to the Court’s Order Accepting the Report and
  Recommendation of United States Magistrate Judge, IT IS ADJUDGED that
  the Second Amended Complaint and entire action is dismissed with prejudice.



   Date: September 23, 2021               ___________________________
                                          OTIS D. WRIGHT II
                                          United States District Judge
